 .Fill in this information
                  Case to8:19-bk-10049-MH
                           identify the case:                     Doc           Filed 05/20/25 Entered 05/20/25 04:57:55                              Desc Main
     Debtor1                Sunny Omidvar                                      Document     Page 1 of 3
                            fka Mostafa Omidvar
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the : CENTRAL District of California
                                                            (State)
     Case number 8:19-bk-10049-MH




Form 4100R
Response to Notice of Final Cure                                                                    10/15
___________________________________________________________________________________________________________
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:             Mortgage Information


     Name of creditor: U.S. Bank NA, successor trustee to Bank of                                                                     Court claim no. (if known): 3-1
     America, NA, successor to LaSalle Bank NA, as trustee, for the WaMu
     Mortgage Pass-Through Certificates, Series 2006-AR10
     Last 4 digits of any number you use to identify the debtor’s account: 6459

     Property address:              462S PASEO SERENA
                                    Number          Street

                                    ANAHEIM, CA 92807
                                    City                                 State        ZIP Code
 Part 2:             Prepetition Default Payments

 Check one:

     [X]         Creditor agrees that the debtor(s) have paid in full amount required to cure the prepetition default on the creditor’s
                 claim

     [ ]         Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
                 creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this response is:
                                                                                                                                               $___________
 .


 Part 3:             Postpetition Mortgage


 Check one:

     [X]         Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
                 Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                 The next postpetition payment from the debtor(s) is due on:                 6/1/2025
                                                                                             MM/DD/YYYY

     [ ]         Creditor states that the debtors are not current on all postpetition payments consistent with § 1322 (b)(5) of the
                 Bankruptcy Code, including all fees charges expenses, escrow, and costs.

                 Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                 a. Total postpetition ongoing payments due:                                                                                     (a) $_________
                 b. Total fees, charges, expenses, escrow and costs outstanding:                                                               + (b) $_________
                 c. Total. Add lines a and b.
                                                                                                                                                 (c) $_________
                 Creditor asserts that the debtor(s) are contractually
                 obligated for the postpetition payment(s) that first became
                 due on:
                                                                                             MM/ DD/ YYYY




 Form 4100R                                             Response to Notice of Final Cure Payment                                                             page 1
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Debtor 1       Sunny Omidvar                                               Document CasePage 2 of
                                                                                          number      3
                                                                                                 (if known) 8:19-bk-10049-MH
               fka Mostafa Omidvar
               First Name         Middle Name            Last Name




Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in
Part 3 that the debtor(s) are not current with all postpetition payments, including all fees, charges
expenses, escrow, and costs, the creditor must attach an itemized payment history disclosing the
following amounts from the date of the bankruptcy filing through the date of this response:

[X] all payments received;
[X] all fees, costs, escrow, and expenses assessed to the mortgage; and
[X] all amounts the creditor contends remain unpaid


Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct to
the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.

               X      /s/ David Coats                                                               Date: 5/19/2025
                      Signature



 Print                David Coats                                                                   Title Authorized Agent
                      First Name                     Middle Name              Last Name


 Company              Robertson, Anschutz, Schneid & Crane LLP

If different from the notice address listed on the proof of claim to which this response applies:



 Address              1 Park Plaza, Suite 600
                      Number                    Street



                      Irvine                             CA                      92614
                      City                                 State                   ZIP Code


 Contact              470-321-7112                                                                                 Email: dacoats@raslg.com




Form 4100R                                               Response to Notice of Final Cure Payment                                             page 2
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                                        Document     Page 3 of 3




05/20/2025




         05/20/2025



      Sunny Omidvar
      fka Mostafa Omidvar
      462 South Paseo Serena
      Anaheim, CA 92807




05/20/2025             Charles Doran                           /s/ Charles Doran
